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                                     UNITED STATES DISTRICT COURT
                                      DISTRICT OF MASSACHUSETTS
CRIMINAL NO.
18-10428-ADB
                                       UNITED STATES OF AMERICA

                                                     v.

                                   FRANKLIN FREDDY MEAVE VAZQUEZ

                                      ORDER ON EXCLUDABLE TIME

                                               April 8, 2019
DEIN, M.J.

        With the agreement of the parties, this court finds and concludes, pursuant to the provisions of

18 U.S.C. § 3161(h)(7)(A) and Section 5(b)(7)(B) of the Plan for Prompt Disposition of Criminal Cases in

the United States District Court for the District of Massachusetts (Statement of Time Limits Adopted by

the Court and Procedures for Implementing Them, Effective December 2008), that the defendant

requires time for the preparation of an effective defense, including time for review of the evidence,

preparation of motions, and consideration of alternatives concerning how best to proceed, and that the

interests of justice outweighs the best interests of the public and the defendant for a trial within seventy

days of the return of an indictment. I further find that not granting this continuance would deny counsel

for both the government and the defendant a reasonable time necessary for effective preparation,

taking into account the exercise of due diligence. See 18 U.S.C. § 3161(h)(7)(B)(iv).

        It is hereby ordered that the Clerk of Court enter excludable time for the period of April 8, 2019

through May 28, 2019, that being the period between the expiration of the last order of excludable time

and the date of the next status conference. Based on the orders of November 20, 2018, January 7,

2019, March 4, 2019 and this order, as of May 28, 2019 there will be 0 days of non-excludable time and

70 days remaining under the Speedy Trial Act in which this case must be tried.

                                                            / s / Judith Gail Dein
                                                          Judith Gail Dein
                                                          United States Magistrate Judge
